      Case 8:18-cv-00709-PX Document 12 Filed 04/25/18 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

MARK DANIEL                                        *
                                                   *
         Plaintiff,                                *      Case No.: 8:18-cv-00709-PX
                                                   *
vs.                                                *
                                                   *
SAM’S WEST, INC.                                   *
d/b/a SAM’S CLUB, et al.                           *
                                                   *
         Defendants.                               *

       INITIAL JOINT STATUS REPORT PURSUANT TO THE COURT’S REQUEST

         COME NOW the Plaintiff, Mark Daniel, by and through his attorney, Michael C. Lind,

Esquire and Law Office of Michael C. Lind, LLC, and the Defendants, Sam’s East, Inc., Wal-Mart

Stores, Inc. and Wal-Mart Stores East, LP, by and through their attorneys, Christopher R. Dunn and

DeCaro, Doran, Siciliano, Gallagher & DeBlasis, LLP, and pursuant to this Court’s Scheduling

Order states as follows:

         1.      The parties respectfully request that the Scheduling Order deadlines be modified as

follows:

         Event                                                         Current         Modified

         C       Plaintiff’s Rule 26(a)(2) disclosures:                06/12/18        08/11/18

         •       Defendant’s Rule 26(a)(2) disclosures:                07/12/18        09/10/18

         •       Plaintiff’s rebuttal Rule 26(a)(2) disclosures:       07/26/18        09/24/18

         •       Rule 26(e)(2) supplementation of disclosures:         08/02/18        10/01/18

         •       Discovery deadline; submission of status report:      08/27/18        10/26/18

         •       Requests for admission:                               09/04/18        11/03/18

         •       Dispositive pretrial motions deadline:                09/25/18        11/24/18
    Case 8:18-cv-00709-PX Document 12 Filed 04/25/18 Page 2 of 2




          2.         There is no unanimous consent to proceed before a United States Magistrate Judge.

The Defendant consents, and the Plaintiff does not at this time.

          3.         All parties consent to participate in mediation with a Magistrate Judge after discovery

is completed.

          4.         The parties anticipate they will exchange written discovery requests and responses

and conduct depositions of factual and expert witnesses. Defendant reserves the right to have the

Plaintiff submit to an independent medical examination. The parties do not anticipate exceeding

twenty-five (25) hour for depositions.

Respectfully submitted,


 /s/Michael C. Lind                                                       /s/Christopher R. Dunn
Michael C. Lind, Esquire                                                 Christopher R. Dunn, #05278
(Signed by Christopher R. Dunn with                                      DeCaro, Doran, Siciliano, Gallagher
   permission of Counsel)                                                 & DeBlasis, LLP
Law Office of Michael C. Lind, LLC                                       17251 Melford Boulevard, Suite 200
7 Central Avenue                                                         Bowie, Maryland 20715
Glen Burnie, Maryland 21061                                              (301)352-4950
(410)343-7384                                                            Fax - (301)352-8691
Mike@lindlawoffice.com                                                   Cdunn@decarodoran.com
Counsel for Plaintiff                                                    Counsel for Defendants

Date: April 25, 2018


I:\Common\WP\L1\CRD\Daniel, Mark v. Sam's Club, et al\Pleadings\Initial Joint Status Report.wpd




                                                                   2
